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DEFENDANT: Leonard L. Luton

YOB: 1976

ADDRESS (CITY/STATE): Brooklyn, NY

OFFENSE(S): Attempt and Conspiracy to Commit Mail Fraud, 18 U.S.C. 1349 (18 U.S.C. 1341)

LOCATION OF OFFENSE (COUNTY/STATE): Larimer County, CO

PENALTY:           NMT 20 years in prison, NMT $250,000 fine, or twice the financial gain or loss
                   from the offense, whichever is greater, or both imprisonment and a fine; NMT 3
                   years of supervised release; $100 special assessment

AGENT: Kevin P. Hoyland

AUTHORIZED BY: Martha A. Paluch
               Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

  _       five days or less      X     over five days            other

THE GOVERNMENT

      X    will seek detention in this case             will not seek detention in this case

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE:                     Yes          X           No
